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                                     EXHIBIT LIST
                     Beryl               v. Navient Corp. , C ________
                                                              05920    LB



          Date        Date
EXHIBIT   Offered     Admitted   Sponsoring   Limits on Use    Description and Bates Range
NUMBER    into        into       Witness
          Evidence    Evidence



1                                                              Offer Letter (Nav. 393-410)
2                                                              Employee Manual (Nav. 196-238)
3                                                              Email - 11-1-17 (LB 1728)
4                                                              Email - 11-2-17 (LB 1751)
5                                                              Email - 12-3-17 (LB 2863)
6                                                              Email - 1-3-18 (LB 4147)
7                                                              Email - 11-29-17 (LB 2503-2572)
8                                                              2018 Plan - 12-7-17 (Nav. 686 -701)
9                                                              Minutes - 1-23-18 (Nav. 462-463)
10                                                             Email - 12-11-17 (LB 3208-3210)
11                                                             Email - 12-14-17 (LB 3546 - 3593)
12                                                             Email - 12-19-17 (LB 3825 - 3874)
13                                                             Email - 12-29-17 (LB 3969 - 4025)
14                                                             Email - 1-9-18 (LB 4274)
15                                                             Email - 1-19-18 (LB 4642 - 4643)
16                                                             Email - 1-22-18 (Nav. 717 - 722)
17                                                             Severance Plan (Nav. 444 - 461)
18                                                             Letter - 1-24-18 (Nav 244 - 245)
19                                                             Letter - 3-13-18 (LB 252 - 254)
20                                                             Letter - 6-7-18 (LB 542 - 546)
21                                                             Letter - 8-3-18 (LB 4765 - 4770)
22                                                             Email - 9-21-18 (LB 4771 - 4772)
23                                                             Statement - 4-3-2018
24                                                             Email - 11-21-17 (Nav. 554)
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                                                              05920    LB



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NUMBER    into        into       Witness
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25                                                                Email - 11-28-17 (Nav. 555 - 556)
26                                                                Email - 11-30-17 (Nav. 676 - 678)

27                                                                Email - 12-4-17 (Nav. 679)
28                                                                Email - 12-4-17 (Nav. 680 - 685)
29                                                                Email - 12-8-17 (Nav. 702 - 703)
30                                                                Email - 1-30-18 (Nav. 709 - 710)
31                                                                Email - 1-3-18 (Nav. 707 - 708)
32                                                                Email - 1-8-18 (LB 4212)
33                                                                LLC Agreement - (Nav. 264 - 323)
34                                                                Vedder Price Declaration
35                                                                PTCNI Review (Nav. 818 - 841)
36                                                                2018 Plan (Nav. 858-860)
37                                                                Letter - 2-12-2018 (Nav. 248-250)
38                                                                Memo - Undated (Nav. 257)
39                                                                Agm't - 5-17-2019 (Nav. 258-263)
40                                                                Letter - 4-4-2018 (Nav. 384-385)
41                                                                Agm't - 4-23-2020 (Nav. 386-392)
42                                                                Letter - 10/4/2017 (Nav. 411-425)
43                                                                Mrgr Plan -10-4-17 (Nav. 469-541)
44                                                                Email 11-20-2017 (Nav. 553)
45                                                                Email 12-22-2017 (Nav. 704-706)
46                                                                Email 1-4-2018 (Nav. 712)
47                                                                Email 1-9-2018 (Nav. 714)




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                                                              05920    LB



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NUMBER    into        into       Witness
          Evidence    Evidence



48                                                                Email 1-18-2018 (Nav. 715-716)
49                                                                Cond. Code 8-2017 (Nav. 747-770)
50                                                                Survey 11-17 (Nav. 3400-3401)
51                                                                Hutch. Ltr. 4-27-2018
52                                                                Hutch. Attach. 4-27-2018




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